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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF PUERTO RICO NECEIVED & FILED

UNITED STATES OF AMERICA,
No. 12-cv-2039 (GAG)

Plaintiff;
Vv.
COMMONWEALTH OF PUERTO RICO, ET AL.,

Defendants.

Request for Payment of Monthly Expenses
TO THE HONORABLE COURT,
Comes here, the Technical Compliance Advisor, and respectfully informs and requests:

1. That the TCA Office may submit a request for payment of certain monthly expenses as per the
Stipulation presented by the parties and approved by this Honorable Court on June 26, 2014 (Dkt. 139)

2. The TCA hereby submits for consideration, that the following administrative expenses be approved
prior to their expenditure, in accordance to paragraph 22 of the Stipulation. Said expenses are as
follows:

a. Fixed monthly staff salaries:

Arnaldo Claudio........ccecseuccessssssssceeeeseneconsee $17,916.67
Eric GUZMAN... eee cseco ereseeeersee recs seeses see seeanene $10,833.33
Anjelica Orfila.........esssssssecesesrseeserseseee seers 92,924.50
JOSUG LOPOZ... eee cccseeccssessestssseeceeeeecsstestsereseee sees 92,924.50

b. Office Expenses:

Monthly Renit........cccccsesseesessestessecseeseseneeese 193,000.00
Telephone and Communication..............1++-9188.74
C. ACCOUNTING SEPVICRS..........ecesceeceesenceeteneeeeee $1,508.34

Total...... $39,296.08

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3. TCAPR, Corp., as an employer, is required to deposit several employment related taxes with local and
federal government agencies. This employment treatment is consistent with Section B of the Stipulation
and Order for the establishment of the TCA Office and the payment for TCA Expenses (No. 12-cv-2039
(GAG). Payroll related expenditures accrued for the month of January and payable on or before
February 15" (Medicare, SDI) or February 28" (SDI-CH) are as follows:

Item Tax January
1 Soc_Sec $2,145.14
2 Medicare $501.68
3 Medical Insurance $1,018.86

Total $3,665.68

4. All expenses have been allocated within the TCA’s Office previously approved budget, and are
necessary to the Technical Compliance Advisor’s mission. All allotments are contained and foreseen,
abiding strictly to the assigned budget provided by the parties and approved by this court.

5. The TCA Office respectfully requests, that these expenses be approved and a check issued in the
amount of $42,961.76, the total amount of the fixed monthly expenses, for the month of February 2019.

6. The TCA Office nor any member has received any income, compensation, or payment for services
rendered under regular employment or contractual relationship with the Commonwealth, or any of its
departments, municipalities or agencies.

FOR ALL OF WHICH, the TCA Office respectfully requests this Honorable Court, that the monthly
expenses be approved and a check issued in the amount of $42,961.76 the total amount of the fixed
monthly expenses, for the month of February 2019.

In San Juan, Puerto Rico, this day February 4, 2019.

|, Arnaldo Claudio, Technical Compliance Advisor, certify that the above information is true, correct and
accurate; and that the requested amount will be deposited in the TCAPR Corp. commé€rcial account.
Av ee Lo.

Arnaldo Claudio-TCA

CERTIFICATE OF SERVICE: | here by certify that an electronic copy of this document has been sent to all parties of
record.
